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Exhibit 10
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

MDL Docket No. 1629

Master File No. 04-10981

KHER EKEKKERKKEERKKEEKREKKEKEKREKEKRKKEEKEKE

IN RE: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS

LIABILITY LITIGATION

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THIS DOCUMENT RELATES TO:
Bulger v. Pfizer, Inc., Et Al
Case No. 07-11426-PBS

and
Smith, Et Al v Pfizer, Et Al
Case No. 0O5-CV-11515-PBS

KRKEKK KEKE EEK RERKRERREKEKREKEKKEKSE

VIDEOTAPED DEPOSITION OF CHARLES KING,

Held At:
Greylock McKinnon Associates
One Memorial Drive
Cambridge, Massachusetts

October 28th, 2008
9:05 A.M.

IIl

Reported By: Maureen O'Connor Pollard, RPR, CLR

Videographer: William Slater

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1 succinctly, and were representative of what I 1 any of the personal injury cases?
2 had discovered in reading various documents. 2 A. No.
3 Q. Allright. Let's talk about the 3 Q. Are you familiar with the facts in any
4 heading under "Legal Documents." Well, let me 4 of the individual personal injury cases?
5 take a step back first. 5 A. No.
6 Are there other documents that you are 6 Q. SoI take it you're not offering any
7 relying upon for purposes of your opinion that 7 opinions that are specific to any of the
8 you chose not to include in this list of 8 particular personal injury cases, is that right?
9 documents relied upon? 9 A. That's correct, except that the
10 A. You know, there are other documents 10 opinions that I offer here apply to all doctors,
11 available that support my opinions, but these 11 so they would apply to the individual doctors in
12 are the ones that, you know, I specifically 12 the personal injury cases. But I'm not offering
13 chose to rely upon for the opinions in the 13 an opinion to a -- concerning a specific
14 report. 14 personal injury case.
15 Q. Okay. Did you specifically choose to 15 Q. Have you ever spoken to any of the
16 rely upon any deposition testimony other than 16 Plaintiffs in the personal injury cases?
17 the deposition testimony listed here under 17 A. No.
18 "Legal Documents"? 18 Q. Have you read any of the deposition
19 A. Well, the answer should be no. 19 transcripts in the personal injury cases? —
20 Q. Okay. And if you look at -- well, you 20 A. No.
21 said "the answer should be no." Do you have any | 21 Q. Do you plan to read any of those?
22 reason to think the answer is something other 22 A. Not unless I'm asked to.
23 than no? 23 Q. Do you know who the treating
24 A. No, I don't. 24 physicians were in any of the personal injury
Page 83 Page 85 |;
i Q. Allright. And let's look at -- 1 cases?
2 A. Other than clerical error. 2 A. No.
3 Q. Okay. Are there other legal documents 3 Q. Do you know who Ron Bulger is?
4 outside of the -- outside of deposition 4 A. No.
5 transcripts that you specifically relied upon 5 Q. Do you know in what state Mr. Bulger
6 for purposes of your opinion in this case that 6 resides?
7 are not reflected in this list? 7 A. No.
8 A. No. 8 Q. Do you know for what condition Susan
9 Q. And then there's another heading here 9 Bulger was prescribed Neurontin?
10 "Bates Documents." Are there any Bates 10 A. No. i
11 documents that you specifically relied upon for | 11 Q. Do you know the names of Mrs. Bulger's |
12 purposes of your opinions expressed in this 12 prescribing doctors? 1
13 report that are not listed here on attachment B_ {13 A. No.
14 under the heading "Bates Documents"? 14 Q. Do you know who a Dr. Goldman is in
15 A. No. 15 the context of this case?
16 Q. Have you reviewed the Bulger or Smith {16 A. No.
17 amended complaints? 17 Q. Have you reviewed any testimony by
18 A. No. 18 Dr. Goldman?
19 Q. Do you plan to review them? 19 A. No.
20 A. I wasn't asked to. 20 Q. Do you know anything about what
21 Q. Do you have any plans to review them 21 Dr. Goldman has testified regarding why he
22 in the future? 22 prescribes Neurontin?
23 A. No. 23 A. No. }
24 Q. Have you reviewed the complaints in 24 Q. And maybe just to cut through this, I i
22 (Pages 82 to 85)

 
 
  
   
  
 
   
  
  
   
    
      
  

  

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A. - and we finished about three.

 

 

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Page 86 Page 88
1 take it if I asked you those types of similar 1 BY MR. MISHKIN:
2 questions regarding other personal injury cases 2 Q. Did you --
3 your answers would be the same? 3 MR. ROSENKRANZ: For the record, by
4 A. Yes. 4 the way, Mr. Altman is also counsel. He is now
5 MR. MISHKIN: Let's mark the next 5 an admitted lawyer in California. ;
6 — exhibit. 6 MR. MUEHLBERGER: Congratulations.
7 You know what? Looks like we're 7 MR. ALTMAN: Thank you.
8 coming to the end of the videotape, why don't we} 8 BY MR. MISHKIN:
9 go off the record. 9 Q. Did you search for any materials in i
10 A. Okay. 10 preparation for the deposition?
11 THE VIDEOGRAPHER: This is the end of {11 A. I did look at material that I ;
12 tape number one in the deposition of Charles 12 reviewed, I looked to see if there were other
13 King, III. The time is 10:24. We're off the 13. documents that I'd reviewed that supported some
14 record. 14 of the points. So yes, I did some additional. 3
15 (Whereupon, a recess was taken.) 15 Q. You understand that there was a i
16 THE VIDEOGRAPHER: This is the 16 request or a subpoena by the Defendants for some
17 beginning of tape number two in the deposition |17 materials in connection with your report? :
18 of Charles King, III. Back on the record. The 18 A. Yes.
19 time is 10:36. 19 Q. Did you review that subpoena? i
20 BY MR. MISHKIN: 20 A. Idid.
21 Q. Dr. King, what did you do to prepare 21 Q. What --
22 for your deposition today? 22 A. Oh, sorry, subpoena. No, I didn't get i
23 A. What did I do. Well, I sat down with 23 a-- I don't know anything about the subpoena. i
24 my report and read it a few times, and I looked |24 Iknow something about the notice of deposition
Page 87 Page 89 fj
1 at the backup materials and the footnotes 1 that had a document request in it.
2 supporting the report, I looked at some of the 2 Q. That's what I'm referring to.
-3 additional reports that have been filed in the 3 Did you review the document requests
4 case, and I conferred with counsel. 4 that were contained in that notice of
5 Q. What counsel did you confer with? 5 deposition?
6 A. Ron Rosenkranz. 6 A. Yes.
7 Q. Any other counsel? 7 Q. And what work did you or others do to
8 A. I spoke to Ken Fromson also. 8 collect documents that were responsive to the
9 Q. How many times did you have these 9 requests contained in that deposition notice?
10 contacts with counsel in preparation for your 10 A. Iwent and tried to find them for you.
11 deposition? 11 So we talked about how best to convey the
12 A. Let's see. I talked to, once or twice 12 database of documents that I reviewed and relied §
13. to Ken Fromson, once or twice to Ron Rosenkranz, |13 upon, we collected information on billing that ;
14 and then yesterday Ron, Keith and I sat down for |14 you'd requested, I put together the package of :
15 a few hours to prepare for the deposition. 15 e-mails that you have. If you have the list I
16 Q. Can you estimate how much time in 16 could go through it. ;
17 total you spent with your attorneys preparing? 17 Q. We may do that, but let me first just /
18 A. Yes. I would say half an hour, 45 18 ask you about some specific categories. 4
19 minutes in terms of phone calls, and then 19 A. Sure.
20 yesterday Keith Altman arrived about ten, I 20 Q. You mentioned billing records, and we 4
21 think Attorney Rosenkranz arrived around eleven, |21 received from you one piece of paper which we've |
22 11:30, and we finished around -- 22 marked as Exhibit 2. Is that what you were able |,
23 MR. ROSENKRANZ: Having gotten lost. 23 _ to find in terms of billing records? |
24 24 A. That's how we responded to your ;
ot

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23 (Pages 86 to 89)

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1 their promotional efforts in promoting off-label 1 Q. Did you do anything else?
2 sales. I looked at their strategic plans, and 2 A. I think that's most of it. I can't
3 when you do that you discover that the main 3 think of anything at the moment. If I thought
4 source of growth for Neurontin is not in its 4 about it.
5 approved indication for epilepsy or pediatric 5 Q. Okay. Just to be clear, when you -- I
6 epilepsy or post-herpetic neuralgia, it all 6 think you've already said this, but when you
7 comes from the off-label uses, and that's where 7 refer to Plaintiffs’ other expert reports, you
8 they concentrated their marketing efforts. And 8 mentioned that those were received after you
9 it's a very comprehensive scheme of things that 9 submitted this report, right?
10 was done to promote the off-label uses, and 10 A. Correct. ;
11 we've touched on some of the aspects of that. 11 Q. So they didn't form the basis for the |
12 So I looked at the company documents to see what |} 12 opinions as you've expressed them in the report? jj
13. the company was doing and how they were thinking | 13 A. No, they don't, but they corroborate
14 about it. 14 my findings and opinions.
15 And also I looked at their own 15 Q. And the data analysis, is there any |
16 analyses of the market in terms of how 16 data work that you've done that is not reflected §
17 successful they were in meeting their corporate 17. in the charts that appear in your report?
18 objectives. 18 A. Not that support the basis of my
19 I also reviewed the academic 19 opinion, no. It's all here in the report.
20 literature to see what's known about promotion 20 Q. Okay. And this may be implicit in one
21 of pharmaceuticals and how it would relate to 21 of your last answers, but I take it you haven't
22 this case. 22 sought to quantify in any specific way the
23 You know, I drew upon my own 23 impact of any particular types of alleged
24 experience, too. 24 improper promotion on off-label sales of
Page 123 Page 125
1 And then I did some additional 1 Neurontin?
2 analyses of data that you provided to see if I 2 A. Ihave not. And I would also add it's
3 could corroborate the findings that I had from 3 not clear to me, or I wasn't able to on the
4 the documents, from the academic studies, and | 4 basis of the information and data thatIhad,I
5 _ see if that's what I observed in this case. 5 didn't see a way that I could actually do that
6 And then finally, as we've discussed, 6 with what had been provided. :
7 when subsequent expert reports came out, I read] 7 Q. So this is a kind of analysis that you
8 the expert reports and analyzed them to see if 8 personally haven't done? ;
9 they were consistent with the analyses that I'd 9 A. No, I haven't done any such analysis. i
10 done based on company documents, based on 10 Q. And you haven't sought to determine
11 independent market and economic analyses, and |11 whether any particular Neurontin prescriptions =;
12 based on my review of the academic literature, |12 for any particular patients were the result of :
13 and they were highly corroborative. 13 alleged improper promotions, is that right? i
14 Q. So let me just try to recap and make 14 A. In an individual case? /
15 sure I'm not missing anything. 2 15 Q. Right.
16 You reviewed documents produced by 16 A. No.
17 Defendants, you reviewed the literature, 17 Q. Okay. So you're not offering an |
18 academic literature on pharmaceutical promotion, }18 opinion that any particular Plaintiff's (
19 and you reviewed expert reports filed by other 19 Neurontin prescriptions resulted from any |
20 Piaintiffs' experts? 20 alleged improper conduct? ;
21 A. Well, subsequently to writing the 21 MR. ROSENKRANZ: Objection. Asked and ;
22 report. And I also did analyze the data, 22 answered. :
23 available data to see what was happening in the | 23 You can answer. i
24 market. 24

A. Iquess there I would say, you know,

 

32 (Poe —— > SS ES AEST
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